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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                                 WEST PALM BEACH DIVISION


  JORDAN KUPPINGER, M.D., and
  GERALD MOLLOY, M.D.,

         Plaintiffs,

  v.                                                                     Case No.

  JM.JZ ENTERPRISES, INC. d/b/a Coastal
  Health Group, a Florida corporation, JONN A.
  MCCLELLAN, MICHAEL CUTLER, and CHEIKH
  ROBERTSON,

         Defendants.
                                                         /

                                            COMPLAINT

         Plaintiffs Jordan Kuppinger, M.D. (“Dr. Kuppinger”) and Gerald Molloy, M.D. (“Dr.

  Molloy”) (collectively, “Plaintiffs”), hereby sue JM.JZ Enterprises, Inc. d/b/a Coastal Health

  Group (the “Corporation”), Jonn A. McClellan (“McClellan”), Michael Cutler (“Cutler”), and

  Cheikh Robertson (“Robertson”) (collectively, “Defendants”).

         1.      This is an action for damages as a result of Defendants’ unlawful retaliatory conduct

  against Plaintiffs and negligent and/or intentional infliction of emotional distress.

         2.      This action also seeks declaratory and injunctive relief relating to the parties’ rights

  and obligations under the Shareholder Agreement.

                                   JURISDICTION AND VENUE

         3.      The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 because

  Plaintiff’s claim arises under the laws of the United States, specifically under 31 U.S.C. § 3730(h).
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          4.       The Court has supplemental jurisdiction over the state law claims asserted herein

  pursuant to 28 U.S.C.§ 1367 because those claims form part of the same case or controversy as the

  federal claim.

          5.       Venue is proper in this district under 28 U.S.C. § 1391(b) because the Corporation’s

  principal place of business is in Palm Beach County, Florida, Defendants McClellan and Cutler

  are residents of Palm Beach County, Florida, and a substantial part of the events giving rise to the

  causes of action alleged herein occurred in this district. In addition, the Shareholder Agreement

  (defined below) for the Corporation provides that “if a court action is instituted between a

  Shareholder and the Corporation, venue for such action will be in Palm Beach County,

  Florida . . .” See Exhibit A, Art. XVI(b).

                                               PARTIES

          6.       Plaintiff Dr. Kuppinger is a board-certified anesthesiologist with fellowship

  training in Interventional Pain Management. Dr. Kuppinger has been employed by the Corporation

  as one of its health care providers. In addition, Dr. Kuppinger owns 20% of the shares of the

  Corporation, has been the Corporation’s Chief Medical Officer, and has been a director on the

  Board of Directors for the Corporation.

          7.       Plaintiff Dr. Molloy is a board-certified neurosurgeon. Dr. Molloy is employed by

  the Corporation as one of its health care providers. In addition, Dr. Molloy owns 20% of the shares

  of the Corporation and is on the Board of Directors for the Corporation.

          8.       The Corporation is a Florida corporation, formed on or around 2013, with its

  principal place of business in Palm Beach County, Florida. The Corporation is a medical practice

  that provides medical and injury care throughout various locations in Florida. The Corporation

  has ten (10) or more employees. As of December 31, 2020, the Corporation had five shareholders:

  Dr. Kuppinger, Dr. Molloy, McClellan, Cutler, and Robertson.

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          9.      Defendant McClellan is a resident of Palm Beach County, Florida and is a licensed

  chiropractor. McClellan is employed by the Corporation as one of its health care providers and is

  on the Board of Directors for the Corporation. As of December 31, 2020, McClellan owned 20%

  of the shares of the Corporation. However, pursuant to a “Contribution Agreement” effective

  January 1, 2021, McClellan transferred his shares to CHG Holding Company, LLC. See Exhibit

  B. As a result, on January 1, 2021, McClellan ceased to be a shareholder of the Corporation.

          10.     Defendant Cutler is a resident of Palm Beach County, Florida. Cutler is employed

  by the Corporation in a marketing role and is on the Board of Directors for the Corporation. As

  of December 31, 2020, Cutler owned 20% of the shares of the Corporation. However, pursuant to

  a “Contribution Agreement” effective January 1, 2021, Cutler transferred his shares to CHG

  Holding Company, LLC. See Ex. B. As a result, on January 1, 2021, Cutler ceased to be a

  shareholder of the Corporation.

          11.     Defendant Robertson is a resident of Miami-Dade County, Florida. Up until

  November 22, 2020, Robertson was employed by the Corporation as its Chief Executive Officer

  and was Chairman of the Board of Directors. As of November 22, 2020, Robertson retired and

  resigned from all positions in the Corporation. Robertson continues to be a shareholder of the

  Corporation owning 20% of its shares.1 As a result of his retirement and resignation, however,

  Robertson is required under the Shareholder Agreement (defined below) to sell all of his shares to

  the Corporation, or if the Corporation elects not to purchase all of his shares, to the other

  shareholders on a pro-rata basis (i.e., Plaintiffs).




  1
   If Robertson also signed the Contribution Agreement, like McClellan and Cutler, he too would
  no longer be a shareholder of Corporation.

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                                        GENERAL ALLEGATIONS

          12.        On July 1, 2020, the shareholders of the Corporation entered into an “Amended and

  Restated Shareholder Agreement” (the “Shareholder Agreement”). See Ex. A.

          13.        At the time the Shareholder Agreement was entered into, the shareholders of the

  Corporation were Dr. Kuppinger, Dr. Molloy, McClellan, Cutler, and Robertson, and the Board of

  Directors of the Corporation was composed of all five shareholders, with Robertson serving as

  Chairman of the Board. At the time, Robertson was also Chief Executive Officer (CEO) of the

  Corporation.

                    Actions by Shareholders and Directors under Shareholder Agreement

          14.        Among other things, the Shareholder Agreement sets forth the rights and

  obligations of the Shareholders and describes how the Corporation will be operated among the

  Shareholders and Board of Directors.

          15.        As relevant here, the Shareholder Agreement provides that “the Board of Directors

  will be responsible for considering major issues of the Corporation which do not, in the opinion of

  the Board of Directors, appropriately come within the purview of the CEO (e.g., compliance, long

  and short-term strategies, acceptance of insurance contracts, capital spending and recruiting). Ex.

  A, Art. III(a).

          16.        The Shareholder Agreement also vests the Board of Directors with voting on the

  removal of directors and the appointment of officers. See id. Art. III(g) (“Any Director may be

  removed, with or without cause, by the affirmative Super Majority Vote by the Board, with prior

  notice to the removed Director . . . .”) (emphasis added); id. Art. IV(b) (“Upon any person ceasing

  to hold an officer position, then the Board of Directors will name a person to replace that person.”)

  (emphasis added).



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          17.     In order for the Board of Directors to take action or transact business, the

  Shareholder Agreement requires that a quorum of directors convene at a meeting. The Agreement

  defines a “quorum” as a “whole number of directors equal to at least two-third (2/3) of the

  maximum authorized Board.” The act of the Majority of the directors present at a meeting at which

  a quorum is present shall be the act of the Board of Directors. Id. Art. III(j).

          18.     The Shareholder Agreement states that “[t]he Board of Directors will consist of not

  less than one (1), nor more than five (5), Directors.” Id. Art. III(c).

                 Unlawful Assignment of Accounts Receivables for Referral of Patients

          19.     On or about September 6, 2020, McClellan signed a “Bulk Irrevocable Assignment

  for Collection” on behalf of the Corporation (the “Irrevocable Assignment”) with Movedocs.com,

  LLC (“Movedocs”).

          20.     McClellan entered into this agreement with Robertson’s and Cutler’s knowledge

  and assistance, but significantly, kept it hidden from Plaintiffs at the time. Robertson’s and

  Cutler’s names even appear on the document, as well as Rene Webster, an employee of the

  Corporation and McClellan’s mother.

          21.     In the Irrevocable Assignment, the Corporation agreed to grant an irrevocable

  assignment to Movedocs.com, LLC to collect on outstanding accounts receivable. In exchange for

  the assignment of accounts receivable, Movedocs agreed to pay the Corporation a lump sum of

  12% of the “aggregate Billed Charges” of the accounts receivable (which, notably, is far less than

  the Corporations’ average collection rate on receivables).2 The accounts receivable being assigned

  would be identified in a subsequent “Assignment Agreement.”




  2
   The individual Defendants themselves have taken the position that the Corporation’s average
  collection rate is 300% greater (or 36%).

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          22.    Significantly, the Corporation had never before (to Plaintiffs’ knowledge) assigned

  or “pre-funded” their accounts receivable.

          23.    Later in September 2020, sometime after McClellan signed the Irrevocable

  Assignment for the Corporation, Cutler arranged for Dr. Kuppinger, Dr. Molloy, Robertson and

  McClellan to all meet with Cara Valenti, a marketing representative for Movedocs, at a dinner

  meeting. The apparent purpose of the meeting was for Ms. Valenti to pitch certain marketing and

  business generation opportunities for the Corporation. Specifically, the opportunity that Ms.

  Valenti offered would involve identifying and referring patients to the Corporation pursuant to

  certain lead generation capabilities that Ms. Valenti said she had in Colorado, Florida and Nevada.

  However, at one point during the conversation, Ms. Valenti revealed that her company (or

  companies with which she was affiliated) also had the capability to pre-fund accounts receivable,

  and that this type of transaction would be the most beneficial to her from a financial perspective.

          24.    Of course, Ms. Valenti, McClellan, Cuter and Robertson already knew that the

  Corporation had entered into an agreement with Movedocs for that purpose, but no one made any

  mention of this at the dinner meeting given that it had been kept hidden from Dr. Kuppinger and

  Dr. Molloy.

          25.    When Ms. Valenti offered the pre-funding of accounts receivable, it became clear

  to Dr. Molloy that what was really being contemplated was the Corporation’s assignment of

  receivable in exchange for the referral of payments. Dr. Molloy raised concerns that this would

  be an unlawful patient brokering scheme.

          26.    Plaintiffs made clear that the Corporation would not be doing any business with

  Ms. Valenti.




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          27.    Thus, after the dinner meeting, Plaintiffs believed that the Corporation would not

  proceed to engage in any assignment of accounts receivable with Ms. Valenti.

          28.    A couple weeks later, at the insistence of Cutler, Dr. Kuppinger offered to give just

  the marketing opportunity a try—again, at the time, the individual Defendants had kept the

  existence of the Irrevocable Assignment hidden from Plaintiffs.

          29.    Shortly thereafter, Ms. Valenti visited one of the Corporation’s offices to begin

  training the employees of the Corporation on the patient referral system.

          30.    Ms. Valenti was hands on and heavily involved in the implementation of this patient

  referral system, and the Corporation indeed began receiving patient referrals.

          31.    It was not until November 2020 that Plaintiffs learned for the first time that the

  Corporation, through McClellan, Cutler and Robertson, had already agreed to assign accounts

  receivables to Movedocs in exchange for the marketing and lead generation services offered and

  provided by Ms. Valenti. In other words, but for the assignment of accounts receivables at a

  fraction of their value, the Corporation would not receive patient referrals.

          32.    Naturally, Dr. Kuppinger and Dr. Molloy were outraged to learn this and made their

  objection to the transaction abundantly clear and known at that time to Defendants. Dr. Molloy

  again raised concerns in light of the patient brokering and kickback issues implicated by this

  arrangement.

          33.    Dr. Kuppinger asked who had agreed to the assignment of receivables, to which

  Robertson responded that he had signed the paperwork.3             Dr. Kuppinger requested from




  3
   The Irrevocable Assignment and the subsequent Assignment Agreement (see infra paragraph 34)
  are in fact signed by McClellan, not Robertson—which Robertson knew of notwithstanding his
  misrepresentation to the contrary. Robertson resigned just three days before the date of the
  Assignment Agreement. See infra ¶¶ 46-48.

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  Defendants copies of any and all paperwork that had been signed through Ms. Valenti; not

  surprisingly, Defendants never provided the documents.

          34.    Notwithstanding the clear disagreement that had been voiced by Plaintiffs on

  several occasions, on or around November 25, 2020, McClellan proceeded to sign a second

  contract with Movedocs, an “Agreement for Assignment of Accounts Receivable” (the

  “Assignment Agreement”), In the Assignment Agreement, the Corporation assigned $1.5 million

  of its accounts receivable in exchange for approximately $185,000.

          35.    The Corporation received the $185,000 on November 30, 2020.

          36.    As noted above, the Corporation has received patient referrals as a result of the

  arrangement with and/or involving Movedocs and/or Ms. Valenti. Among the patients that the

  Corporation treats are federal health care program beneficiaries. Thus, Plaintiffs reasonably

  believe that some of the patient referrals the Corporation has received or would receive under the

  patient referral arrangement noted above are federal health care program beneficiaries. For these

  patients, the Corporation submitted or would submit claims to the United Statement Government

  for payment from federal funds.

          37.    To be sure, the Shareholder Agreement requires each of the shareholders, as

  applicable, to maintain his qualifications and eligibility to participate in Medicare and any other

  federal health care program. See Ex. A Art.VII(b)(1) (allowing for removal of shareholder where

  the shareholder is “excluded, suspended, debarred or otherwise ineligible to participate in

  Medicare and any other Federal Health Care Programs . . . .”); see also id. Art. XV(f) (referring to

  Corporation’s Medicare number). Indeed, Plaintiffs and McClellan have Medicare/Medicaid

  numbers.

                        Violations of Patient Brokering and Anti-Kickback Laws

          38.    The Corporation’s arrangement with and/or involving Movedocs or Ms. Valenti (or

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  associated entities) violates sections 456.054 and 817.505, Florida Statutes.

          39.     Section 456.054, Florida Statutes, makes it unlawful for any health care provider to

  “offer, pay, solicit, or receive a kickback, directly or indirectly, overtly or covertly, in cash or in

  kind, for referring or soliciting patients.”

          40.     Similarly, section 817.505, Florida Statutes, makes it unlawful for any person,

  including any health care provider, to “offer to pay a commission, benefit, bonus, rebate, kickback,

  or bribe, directly or indirectly, in cash or in kind . . .in any form whatsoever, to induce the referral

  of a patient or patronage to or from a health care provider or health care facility.”

          41.     As noted above, McClellan—on behalf of the Corporation and with the knowledge

  and assistance of Cutler and Robertson—agreed to assign accounts receivable to Movedocs for a

  fraction of their value in exchange for the referral of patients to the Corporation. In other words,

  they agreed to “offer to pay . . . a kickback … to induce the referral of [] patient[s].”

                                    Violation of Anti-Kickback Statute

          42.     The Corporation arrangement with and/or involving Movedocs or Ms. Valenti (or

  associated entities) also violates the Anti-Kickback Statute (“AKS”).

          43.     The AKS prohibits the knowing and willful “offer[] or pay[ment of] any

  remuneration directly or indirectly, overtly or covertly, in cash or kind to any person” to induce a

  person to refer patients or generate business involving any item or service payable by federal health

  care programs. See 41 U.S.C. § 1320a-7b (b).

          44.     Again, McClellan, with the knowledge and assistance of Cutler and Robertson,

  knowingly and willingly offered and agreed to the assignment of accounts receivable to Movedocs

  to induce the referral of patients to the Corporation from an entity affiliated and/or associated either

  with Movedocs and/or Ms. Valenti herself.



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          45.      These referred or to-be-referred patients included federal health care program

  beneficiaries.

                                Robertson’s Retirement and Resignation

          46.      On November 22, 2020, Robertson fully retired and resigned from all of his

  positions in the Corporation. See Exhibit C.

          47.      Thus, as of November 22, 2020, Robertson ceased to be CEO of the Corporation

  and ceased to have any position on the Board of Directors, whether as a director or as Chairman.

          48.      Although Robertson currently remains a shareholder of the Corporation, as a result

  of his retirement and resignation, he is required under the Shareholder Agreement to sell his shares

  to the Corporation or, if the Corporation elects not to purchase his shares, to the other Shareholders

  on a pro rata basis. See Ex. A, Art. VI(a).

                                   Restrictions on Transfers of Shares

          49.      In the Shareholder Agreement, the shareholders agreed that in order “to secure the

  continuity and stability of policy and management of the Corporation,” they would “impose certain

  restrictions and obligations on themselves concerning the transfer of Shares of the Corporation.”

  See id. at 1.

          50.      To that end, Article V of the Shareholder Agreement sets forth that transfers of

  shares are prohibited except in two limited circumstances. Specifically, Article V(a) provides:

                   [N]o Shareholder shall give, bequeath, sell, exchange, assign, pledge, or
                   otherwise transfer, dispose, or encumber, directly or indirectly, voluntarily
                   or involuntarily, any of the Shares at any time owned by him . . . except in
                   accordance with the provision of this Agreement or without the prior
                   written consent of all persons or entities subject to the terms and conditions
                   of this Agreement.

  Id. Art. V(a) (emphasis added).




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          51.      In other words, the transfer of shares is permitted only (1) as expressly allowed by

  the Agreement or (2) with the prior written consent of all shareholders.

          52.      Article V(b), in turn, identifies the only two transfers that are expressly permitted

  by the Agreement: (1) Transfer to a Trust; and (2) Transfer to Corporation and other shareholders.

  Id. Art. V(b).

          53.      Article V(c) sets forth the consequences of a prohibited transfer of Shares: “In the

  event of any transfer [in] violation of this Agreement, the transferee of any Shares shall be entitled

  only to receive any distributions to which the transferor Shareholders of such Shares would have

  been entitled but for such sale or transfer.” Id. Art. V(c).

                              McClellan and Cutler Transfer Their Shares

          54.      Shortly before December 30, 2020, McClellan authorized the creation of CHG

  Holding Company, LLC, a Florida limited liability company (the “Holding Company”).

          55.      The Holding Company was allegedly formed as a result of a discussion among the

  directors after receiving advice from certain professionals on implementing an S Corporation

  “inversion” for tax purposes.

          56.      Notwithstanding the contemplated inversion, the shareholders did not all agree in

  writing, as required by Article V(a) of the Shareholder Agreement, that any shares of the

  Corporation could be transferred to the Holding Company. In fact, Dr. Molloy specifically

  objected to such a transfer in light of the provisions of the Shareholder Agreement.

          57.      Nevertheless, without the prior written consent of all of the shareholders, McClellan

  and Cutler proceeded to sign and enter into Contribution Agreement between themselves as

  “Transferors” and the Holding Company as “Transferee.” Under the Contribution Agreement,




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  McClellan and Cutler transferred all of their shares in the Corporation to the Holding Company

  effective January 1, 2021. See Ex. B.

          58.    Since January 1, 2021, McClellan and Cutler (the owners of the Holding Company)

  have caused the Holding Company to transact business with the Corporation without the approval

  of Plaintiffs or the Board of Directors.

          59.    As a result of their transfer of shares to the Holding Company, McClellan and

  Cutler ceased to be shareholders of the Corporation. The Holding Company, in turn, became a

  40% shareholder of the Corporation.

          60.    Because the transfer of shares to the Holding Company was not permitted under

  the Shareholder Agreement (and thus is in violation of the Shareholder Agreement), the Holding

  Company’s right as a shareholder is limited to receiving distributions that McClellan and Cutler

  would have received but for the transfer. Indeed, the Holding Company does not have, among

  other things, the right to vote the shares of the Corporation in matters to be voted upon by the

  shareholders of the Corporation.

                             Retaliatory Action Taken Against Dr. Kuppinger

          61.    On February 18, 2021, Dr. Kuppinger and Dr. Molloy, through their counsel, wrote

  a letter to the Corporation’s counsel reiterating their objection to the Corporation’s participation

  in unlawful patient brokering and kickback activity under state and federal law and demanding

  that an internal investigation be conducted and all appropriate legal action follow. Exhibit D.

          62.    Immediately after receiving the February 18 letter—indeed, a mere three days later

  on February 20, 2021—McClellan, Cutler, and Robertson retaliated by issuing a notice, as

  “Shareholders and Directors,” scheduling a special meeting of the shareholders for February 26,

  2021 for the purpose of “remov[ing] Jordan Kuppinger with and/or without cause from the position

  of Director of Coastal” (the “Notice”) (the meeting was later rescheduled to February 28).

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  Exhibit E. The Notice also scheduled a special meeting of Board of Directors, to take place

  immediately after the shareholders’ meeting, for the purpose of filling the vacancy on the Board

  of Directors as a result of Dr. Kuppinger’s removal and selecting a Chief Executive Officer to fill

  the vacancy created by Robertson’s resignation.

          63.    In light of this clearly retaliatory conduct, Dr. Kuppinger and Dr. Molloy then sent

  McClellan, Cutler and Robertson a second letter the morning of February 27, 2021 (copying the

  Corporation’s counsel). Exhibit F. In the February 27 letter, advised that the intended removal of

  Dr. Kuppinger as director was unlawful retaliation under both state and federal law, specifically

  under section 448.102, Florida Statutes, and 31. U.S.C. § 37230(h). Plaintiffs repeated their

  objections to the Corporation’s violation of patient brokering and anti-kickback laws and

  specifically noted, among other things, that because the Corporation treats patients that are federal

  healthcare program beneficiaries, the Corporation could also be in violation of the False Claims

  Act.

          64.    The same day, Plaintiffs also sent the Corporation’s counsel another letter

  demanding that counsel ensure the retaliatory conduct immediately cease. Exhibit G.

          65.    Defendants’ retaliation nevertheless continued undeterred. That very evening,

  McClellan, Cutler and Robertson caused the physical removal of medical equipment from one of

  the Corporation’s clinics at which Plaintiffs work in order to prevent both Dr. Kuppinger and Dr.

  Molloy from seeing and treating the Corporation’s patients scheduled to visit that clinic.

          66.    The next day, on February 28, 2021, McClellan, Cutler and Robertson voted at the

  shareholders’ meeting to terminate Dr. Kuppinger from the Board of Directors. Then, at the Board

  of Directors meeting that followed, McClellan, Cutler and Robertson voted to also terminate Dr.

  Kuppinger’s employment with the Corporation.          The obvious retaliatory nature of this action is



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  highlighted by the fact that the termination of Dr. Kuppinger’s employment was not even included

  as a matter to be voted upon in the Notice.

          67.    Dr. Kuppinger’s termination as an employee, among other things, was clearly in

  retaliation for the two February 27, 2021 letters sent by Plaintiffs.

                                      Infliction of Emotional Distress

          68.    Defendants’ intentionally retaliatory actions and other outrageous conduct have

  caused Dr. Kuppinger severe emotional distress, to the point where Dr. Kuppinger had to be taken

  to the emergency room on February 28, 2021, shortly after he learned he had been locked out of

  two of the Corporation’s clinics.

          69.    McClellan, Cutler, and Robertson know that Dr. Kuppinger suffers from a heart

  condition. Since at least September 2020, they have intentionally aggravated Dr. Kuppinger’s

  condition through conduct that has been purposely aimed at causing Dr. Kuppinger distress.

  McClellan, Cutler and Robertson have repeatedly taken actions on behalf of the Corporation for

  their sole benefit and to the detriment of Dr. Kuppinger and Dr. Molloy—all to harass Dr.

  Kuppinger and Dr. Molloy. In fact, on January 16, 2021, McClellan openly admitted to Dr. Molloy

  and Cutler that his goal had been to anger and emotionally harm Dr. Kuppinger to the point where

  Dr. Kuppinger would decide to leave the practice.

          70.    The emotional distress suffered by Dr. Kuppinger as a result of McClellan, Cutler,

  and Robertson’s actions has caused Dr. Kuppinger to suffer from shortness of breath, chest pain,

  erythema, chronic fatigue, and has aggravated his angina, among other things.

                                           COUNT 1
                                VIOLATION OF 31 U.S.C. § 3730(h)
                                    (Against the Corporation)

          71.    Plaintiffs repeat and reallege the allegations in paragraphs 1 through 70 above as



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  if fully set forth herein.

          72.     Plaintiffs objected to, reported, and attempted to stop an actual or reasonably

  suspected violation of the False Claims Act by the Corporation. Among other things, Plaintiffs

  informed the Corporation’s counsel and other directors of the unlawful patient referral

  arrangement with and/or involving Movedocs or Ms. Valenti (and associated entities).

          73.     Because the Corporation treats patients that are federal health program

  beneficiaries, and because the referred or to-be-referred patients as a result of the Movedocs

  arrangement include federal healthcare program beneficiaries, Plaintiffs specifically advised the

  Corporation’s counsel and other directors that the arrangement exposes the Corporation to liability

  under the False Claims Act if the Corporation has submitted claims to a federal healthcare program

  for payment of kickback tainted services.

          74.     Plaintiffs reasonably believe the arrangement with and/or involving Movedocs or

  Ms. Valenti involves, or would involve, the Corporation’s submission of false claims to the United

  States government, which Plaintiffs attempted to stop.

          75.     In exposing, objecting to, attempting to stop, and demanding an internal

  investigation of the unlawful arrangement with Movedocs, Plaintiffs have engaged in protected

  activity under section 3730(h).

          76.     Defendants knew that Plaintiffs engaged in protected activity because they received

  Plaintiffs’ correspondence reporting, objecting to, and attempting to stop the potential violation of

  the False Claims Act.

          77.     Because of this, Defendants then retaliated against Dr. Kuppinger, among others.

          78.     To be sure, three days after Plaintiffs’ first correspondence reporting the violations

  of patient brokering and anti-kickback laws, Defendants noticed a shareholder meeting for the sole



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  purpose of removing Dr. Kuppinger as a director.

          79.     Then, the very day Plaintiffs sent another letter again reporting and objecting to the

  unlawful Movedocs transaction and specifically advising of potential violations of the False

  Claims Act, Defendants thereafter physically removed medical equipment from the offices at

  which Plaintiffs work to prevent Plaintiffs from seeing patients. The next day, on February 28,

  Defendants terminated Dr. Kuppinger’s role as director of the Corporation and, with no notice,

  also terminated his employment with the Corporation.

          80.      These adverse employment actions against Dr. Kuppinger were clearly motivated

  by and solely the result of Plaintiffs’ protected activity.

          WHEREFORE, Dr. Kuppinger requests the entry of judgment for reinstatement as a

  director, employee, and Chief Medical Officer, and all damages caused by Defendants’ retaliatory

  conduct, including double back pay plus interest, damages for emotional distress and other

  noneconomic damages, and an award of attorneys’ fees and costs.

                                          COUNT 2
                              VIOLATION OF FLA. STAT. 448.102(3)
                                   (Against the Corporation)

          81.     Plaintiffs repeat and reallege the allegations in paragraphs 1 through 70 above as if

  fully set forth herein.

          82.     The Corporation employees ten (10) or more employees. Dr. Kuppinger has been

  employed by the Corporation as one of its health care providers.

          83.     Plaintiffs objected to, reported, and attempted to stop actual violations by the

  Corporation of Florida patient brokering laws and the federal Anti-Kickback Statute. Specifically,

  Plaintiffs sent written notice of the unlawful patient referral arrangement with and/or involving




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  Movedocs or Ms. Valenti (and associated entities) to the Corporation’s counsel and other directors,

  requesting proper action in accordance with the law.

          84.    Rather than take any steps to remedy the violations of law, Defendants immediately

  retaliated against Dr. Kuppinger.

          85.    To be certain, three days after Plaintiffs’ first correspondence reporting the

  violations of patient brokering and anti-kickback laws, Defendants noticed a shareholder meeting

  for the sole purpose of removing Dr. Kuppinger as a director.

          86.    Then, the very day Plaintiffs sent another letter again reporting and objecting to the

  unlawful Movedocs transaction and specifically advising of potential violations of the False

  Claims Act, Defendants physically removed medical equipment from an office at which Plaintiffs

  work to prevent Plaintiffs from seeing patients. The next day, on February 28, Defendants

  terminated Dr. Kuppinger’s role as director of the Corporation and, with no notice, also terminated

  his employment with the Corporation.

          87.     The adverse employment actions against Dr. Kuppinger were clearly and solely a

  result of Plaintiffs’ objection to and reporting of the Corporation’s violations of Florida patient

  brokering laws and the federal Anti-kickback statute.

          WHEREFORE, Dr. Kuppinger requests the entry of judgment for reinstatement as a

  director, employee, and Chief Medical Officer, all damages caused by Defendants’ retaliatory

  conduct allowable by law, including economic damages, damages for emotional distress, and an

  award of attorneys’ fees and costs. 4



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    Defendants have also begun retaliating against Dr. Molloy. Indeed, as a result of Defendants
  having moved the medical equipment out of one of Dr. Molloy’s offices, he was not able to treat
  patients on Monday, March 1, 2021. Moreover, on Tuesday, March 2, 2021, McClellan had a
  shouting outburst when Dr. Molloy was merely conveying to him that, in light of Dr. Kuppinger’s
  termination, there was no longer a director on the ACHA license. During that outburst, McClellan

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                                  COUNT 3
    NEGLIGENT AND/OR INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                   (Against McClellan, Cutler, and Robertson)

          88.     Plaintiffs repeat and reallege the allegations in paragraphs 1 through 70 above as

  if fully set forth herein.

          89.     Defendants McClellan, Cutler, and Robertson have engaged in intentional,

  reckless, and/or negligent conduct that they knew or should have known would cause emotional

  distress to Dr. Kuppinger.

          90.     Defendants McClellan, Cutler and Robertson owed Dr. Kuppinger a duty to refrain

  from such conduct because of their relationship of trust and confidence as shareholders and

  directors for the Corporation. They also owed Dr. Kuppinger a duty to refrain from such conduct

  because it was clearly foreseeable to them that, in light of Dr. Kuppinger’s known heart condition,

  he would suffer great distress and his condition would be aggravated by actions taken solely to

  harass and anger him.

          91.     Defendants McClellan, Cutler, and Robertson’s conduct is outrageous and goes

  beyond all bounds of decency.

          92.     Indeed, they repeatedly took actions on behalf of the Corporation to purposely harm

  Dr. Kuppinger and Dr. Molloy. For example, they abruptly ceased all payroll in order to cause

  financial strain on Dr. Molloy, and they instructed one of the Corporation’s schedulers to schedule

  several of Dr. Kuppinger’s patients during a time slot intended for one patient so as to cause

  unnecessarily long wait times and purposely affect reviews of Dr. Kuppinger’s service.




  suggested that the Corporation would soon be taking action against Dr. Molloy. Plaintiffs will
  amend this Complaint accordingly to assert retaliation claims on behalf of Dr. Molloy.

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          93.    As a direct and proximate result of Defendants’ misconduct, Dr. Kuppinger

  suffered severe emotional distress that forced Dr. Kuppinger to be taken to the emergency room

  and that has manifested itself in shortness of breath, chest pain, erythema, chronic fatigue, and

  aggravated angina, among other things.

          WHEREFORE, Dr. Kuppinger requests the entry of judgment for damages against

  Defendant McClellan, Cutler and Robertson, and such further relief this Court deems just and

  proper, including punitive damages and attorney’s fees.

                                       COUNT 4
                         VICARIOUS LIABILITY OF CORPORATION
                                  (Against Corporation)

          94.    Plaintiffs repeat and reallege the allegations in paragraphs 1 through 70 and 88

  through 93 above as if fully set forth herein.

          95.    Defendants McClellan, Cutler, and Robertson are employees and directors of the

  Corporation.

          96.    Defendants McClellan, Cutler, and Robertson engaged in intentional, reckless,

  and/or negligent conduct that they knew or should have known would cause emotional distress to

  Dr. Kuppinger.

          97.    In doing so, they acted in the scope of their employment and to allegedly further

  the interests of the Corporation. As a result, the Corporation is vicariously liable for the negligent

  and/or intentional acts Defendants McClellan, Cutler, and Robertson .

          98.    As a direct and proximate result of Defendants’ misconduct, Dr. Kuppinger

  suffered severe emotional distress that forced Dr. Kuppinger to be taken to the emergency room

  and that has manifested itself in shortness of breath, chest pain, erythema, chronic fatigue, and

  aggravated angina, among other things.



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          WHEREFORE, Dr. Kuppinger requests the entry of judgment for damages against the

  Corporation, and such further relief this Court deems just and proper, including punitive damages

  and attorney’s fees.

                                           COUNT 5
                                    DECLARATORY JUDGMENT

          99.     Plaintiffs repeat and reallege the allegations in paragraphs 1 through 70 above as if

  fully set forth herein.

          100.    Because a controversy exists between Plaintiffs and Defendants as to their

  respective rights and obligations under the Shareholder Agreement, Plaintiffs request a declaratory

  judgment as to the following:

                  a.        McClellan and Cutler transferred their shares in the Corporation to the

  Holding Company and therefore are no longer shareholders of the Corporation as of January 1,

  2021;

                  b.        McClellan’s and Cutler’s transfer of shares to the Holding Company was

  done without the prior written consent of the all of the Shareholders in violation of Article V of

  the Shareholder Agreement;

                  c.        As a result of McClellan’s and Cutler’s transfer of shares to the Holding

  Company in violation of the Shareholder Agreement, the Holding Company holds 40% of the

  shares of the Corporation but is entitled only to receive any distributions to which the transferor

  Shareholder of such Shares would have been entitled but for such sale or transfer, pursuant to

  Article V(c);

                  d.        As a result of his retirement and resignation from all positions in the

  Corporation, Robertson was no longer Chief Executive Officer or a director of the Corporation as

  of November 22, 2020;


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                 e.        The shareholders of the Corporation do not have authority to vote upon the

  removal of a director;

                 f.        In order to obtain a quorum at a Board of Directors meeting, there must be

  a “whole number of directors equal to at least two-thirds (2/3) of the maximum authorized Board.”

  Assuming Robertson were still a director notwithstanding his resignation (as Robertson claims), a

  quorum would be four (4) directors.

                 g.        Under the Shareholder Agreement, a quorum of directors must be present

  in order for the Board to consider filling a vacancy on the Board and to appoint an officer.

                 h.        The Shareholder Agreement trumps the provisions of Florida Corporation

  Act as provided in Fla. Stat. § 607.0732.

                 i.        The Board of Directors cannot consider or vote upon any action during a

  meeting that was not identified in the notice of that meeting.

                 j.        As a result of Dr. Kuppinger’s unlawful and retaliatory removal and

  termination, Defendants cannot enforce the non-solicitation, non-competition, and non-disclosure

  provisions of the Shareholder Agreement.

                 k.        Because of the Defendants’ prior material breaches of the Shareholder

  Agreement, Defendants cannot enforce the non-solicitation, non-competition, and non-disclosure

  provisions of the Shareholder Agreement.

          101.   A declaration is necessary and appropriate so that Plaintiffs and Defendants may

  ascertain their respective rights and obligations under the Shareholder Agreement.

          WHEREFORE, Plaintiffs request that the Court enter declaratory judgment as requested

  herein and an order enjoining Defendants from taking any actions inconsistent with their rights




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  and obligations under the Shareholder Agreement. Plaintiffs also request that, pursuant to the

  Shareholder Agreement, the Court award Plaintiffs reasonable attorneys’ fees.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs respectfully pray for judgment against Defendants as follows:

          1.        For reinstatement of Dr. Kuppinger as a director and employee of the Corporation;

          2.        For damages caused by Defendants’ retaliatory conduct in violation of 31 U.S.C, §

  3730(h) and Fla. Stat. § 448.102, including economic and non-economic damages and attorneys’

  fees and costs;

          3.        For compensatory and punitive damages caused by Defendants’ negligent and/or

  intentional infliction of emotional distress, and attorneys’ fees and costs;

          4.        For declaratory judgment as requested herein;

          5.        For an order enjoining Defendants from taking any further actions inconsistent with

  their rights and obligations under the Shareholder Agreement;

          6.        For attorneys’ fees and costs as permitted under the Shareholder Agreement; and

          7.        For such further and additional relief as the Court deems appropriate under the

  circumstances.


                                      JURY TRIAL DEMANDED




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  Dated: March 5, 2021                           Respectfully submitted,

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